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SOUTHERN DISTRICT OF NEW YORK                                                                  I    •


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THE BANK OF TOKYO-MITSUBISHI UFJ,                                  17-Cv-8691 (SHS)
LTD. ,

                                    Plaintiff,                           ORDER

                  -against-

MARIA T. VULLO in her capacity as
Superintendent of Financial Services of the New
York State Department of Financial Services,

                                    Defendant.
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SIDNEY H. STEIN, U.S.D.J.

                  A pretrial conference having been held today, with counsel for all parties present,

                  IT IS HEREBY ORDERED that:

                  1.       Plaintiff withdraws its motion for a preliminary injunction; and

                  2.       There will be a pretrial conference on February 20, 2018, at 9:30 a.m.


Dated:       New York, New York
             December 7, 2017
